
ORDER
Considering the Joint Petition for Interim Suspension Filed By Respondent and the Office of Disciplinary Counsel:
IT IS ORDERED that respondent, Keith L. Ward, attorney at law, be suspended from the practice of law in the State of Louisiana on an interim basis by consent, pursuant to Supreme Court Rule XIX, § 19.3. Said interim suspension will remain in effect pending further orders of this court.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX.
/s/ Jeannette Theriot Knoll Justice, Supreme Court of Louisiana
MARCUS, J., not on panel. Rule IV, Part II, § 3.
